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                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF TEXAS
                                         EL PASO DIVISION

 JOSE L. OLIVA,                                            §
                                                           §
        Plaintiff,                                         §
                                                           §
 v.                                                        §                 EP-18-CV-0001 5-FM
                                                           §
 UNITED STATES OF AMERICA;                                 §
 MARIO J. NIVAR; HECTOR                                    §
 BARAHONA; and MARIO GARCIA,                               §
                                                           §
        Defendants.                                        §

         ORDER DENYING MOTION FOR SUMMARY JUDGMENT EECF No. 80]

        Before the court are "Defendants Mario J. Nivar, Hector Barahon [sic], Mario Garcia's

Motion for Summary Judgment" ("Motion") [ECF No. 80], filed July 8, 2019 by Mario Nivar

("Nivar"), Hector Barahona ("Barahona"), and Mario Garcia ("Garcia") (collectively,

"Officers"); and "Plaintiff's Response to Defendants Nivar, Barahona, and Garcia's Motion for

Summary Judgment" ("Response") [ECF No. 82], filed July 15, 2019 by Jose Oliva ("Plaintiff')

Based on the Motion, Response, and applicable law, the Motion is DENIED.

I.      BACKGROUND

        A.         Factual Background

        On February 16, 2016, Plaintiff visited the Veteran Affairs Health Care System ("VA").'

To enter the VA, visitors are required to go through a metal detector and run their personal

belongings through a similar machine.2


        1
          "Plaintiffs Response to Defendants Nivar, Barahona, and Garcia's Motion for Summary Judgment"
("Resp."), ECF No. 82, filed July 15, 2019; "Affidavit of Jose L. Oliva" ("Oliva Aff.") I, Ex. A; see "Defendants
Mario J. Nivar, Hector Barahon [sic], Mario Garcia's Motion for Summary Judgment" ("Mot."), ECF No. 80, filed
July 8,2019, "Affidavit of Mario J. Nivar" ("Nivar Aff.") 1, Ex. 1; see also "Defendant Hector Barahona's Affidavit
in Support" ("Barahona Aff.") 1, Ex. 2; Defendant Mario Garcia's Affidavit in Support" ("Garcia Aff.") I, Ex. 3.

        2
            Oliva Aff. 2 ¶ 7; see generally Mot., "Electronic Exhibit B" ("Video Ex. B"), Ex. B.
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       Upon Plaintiff getting in the security line, he started to have a conversation with Nivar.3

Nivar then approached Plaintiff with handcuffs drawn.4 After more conversation, Nivar pointed

towards the metal detector.5 As Plaintiff approached the metal detector, an altercation occurred

between Nivar, Barahona, Garcia, and Plaintiff.6 Officers then restrained Plaintiff on the ground

using a chokehold.7

       According to Plaintiff, he placed his identification card in the inspection bin.8 Plaintiff

contends Nivar was agitated and asked for his identification despite his explanation that his

identification was in the inspection bin.9 Plaintiff asserts that after this discussion, Nivar

instructed him to walk through the metal detector, upon which he was "attacked" and restrained

on the ground.'° Plaintiff claims he did not resist the detention or arrest."

       Officers attest that arresting Plaintiff was warranted as he "attempted to enter the facility

without first clearing         security."2    Officers claim Plaintiff did not provide his driver's license.'3




         Video Ex. B, at 00:25.

       41d. at 00:53.

       51d. at 01:00.

       61d at 01:07.

       71d at 01:09.

       8OIivaAff2lJ5.
       91d.    at26.
       '°Id. at2lj7-8.

        '11d    at29.
        12
             Nivar Aff.   1;   Barahona Aff. 1; Garcia Aff.   1.

        ' Id.



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       Plaintiff filed suit against Officers and the United States of America, bringing two claims

under the Federal Tort Claims Act ("FTCA") 28 U.S.C.                 §    1346 et seq and a Fourth Amendment

claim under Bivens v. Six Unknown NamedAgents of Fed. Bureau of Narcotics'4                        ("Bivens").'5


       B.         Parties 'Arguments

       Officers assert they are entitled to qualified immunity for claims brought under the

FTCA.'6     Officers also argue summary judgment is warranted on the Bivens claim due to

qualified   immunity.'7


       Plaintiff ripostes that he has established facts showing Officers violated a constitutional

right and the right was clearly established at the time of the             altercation.'8   Accordingly, Plaintiff

claims that summary judgment is not warranted as genuine issues of material fact remain.19

II.    LEGAL STANDARD

       Summary judgment is proper where the pleadings, discovery, and affidavits demonstrate

there is "no genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law."2° A dispute over a material fact is genuine "when there is evidence sufficient for




       '4O3 U.s. 388.

            "Plaintiff's Original Complaint" ("Compl.") 5, ECF No.   1,   filed Jan. 16, 2018.

       16
            Mot. 3-4.

       ' Id. at   5-6.
       18
            Resp. 3.

       '91d.

       20
            Fed. R. Civ. P. 56(a).


                                                        3
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a rational trier   of fact to find for the non-moving party."2' Substantive law defines which facts

are material.22

        The party moving for summary judgment bears the initial burden of identifying those

portions of the pleadings, discovery, and affidavits demonstrating the absence of a genuine issue

of material    fact.23        When considering only admissible evidence in the pretrial record,24 the court

will "view all facts in the light most favorable to the non-moving party" and draw all factual

inferences in the nonmovant's favor.25 If the moving party cannot demonstrate the absence of a

genuine issue of material fact, summary judgment is                    inappropriate.26


        Once the moving party has met its initial burden, the nonmoving party must go beyond

the pleadings and, by its own affidavits or discovery, set forth specific facts showing there is a

genuine issue for trial.27 The nonmoving party's burden is not satisfied by the raising of "some

metaphysical doubt as to the material facts, by conclusory allegations, by unsubstantiated

assertions, or by only a scintilla of evidence."28 The court does not "in the absence of any proof

assume that the nonmoving party could or would prove the necessary                        facts."29   When reviewing

the parties' submissions, the court does not weigh the evidence or determine the credibility of the


        21
             Perez v. Region 20 Educ. Serv. Ctr., 307 F.3d 318, 323 (5th Cir. 2002) (citation omitted).
        22
                         v.   Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
        23
             See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).

       24
             Fowler v. Smith, 68 F.3d 124, 126 (5th Cir. 1995).
       25
             Cheatham v. Allstate Ins. Co., 465 F.3d 578, 582 (5th Cir. 2006) (per curiam) (citation omitted).
       26
             Tubacex, Inc.      v.   M/VRisan, 45 F.3d 951, 954 (5th Cir. 1995).
       27
             Celotex, 477 U.S. at 324 (internal quotation marks and citation omitted).

        Little v. LiquidAir Corp., 37 F.3d 1069, 1075 (5th Cir. 1994) (en banc) (per curiam) (internal quotation
       28


       marks and citations omitted).
       29
             Id. at 1075 (emphasis removed).


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witnesses."3°       Once the nonmovant has had the opportunity to make this showing, summary

judgment will be granted "if no reasonable juror could find for the                  nonmovant."31

III.    DISCUSSION

       A.           Officers Are Not Entitled to Qualified Immunity for Claims under the FTCA

        The FTCA permits a plaintiff to sue the United States of America and not an individual

employee.32        Here, Plaintiff asserts FTCA claims against the United States under the FTCA.33

Critically, Plaintiff does not bring a FTCA claim against Officers.34 Accordingly, Officers are

not entitled to summary judgment on Plaintiff's FTCA claims.

       B.           OffIcers Do Not Receive Qualified Immunityfor Plaintff's Bivens Claims

       Government officials receive protection "from liability for civil damages insofar as their

conduct does not violate clearly established statutory or constitutional rights of which a

reasonable person would have known."35 Courts employ a two-prong analysis to assess whether

an officer may assert the privilege of qualified immunity.36 The first prong is whether the

evidence, in the light most favorable to the plaintiff, shows the officer violated the plaintiff's

constitutional rights.37 The second prong is whether the officer's actions were objectively




        °   Caboni, 278 F.3d 448, 451(5th Cir. 2002) (citation omitted).
       31
            Id.

       32
            28 U.S.C.     §   1346(b).

            Compi. 5.

            Id.

            Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982); see also Ziglar   v.   Abbasi, 137 S. Ct. 1843, 1850 (2017).
       36
            Pearson v. Callahan, 555 U.S. 223, 232 (2009).

            Id. at 232.
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reasonable in light of clearly established                law.38     Both prongs must be   satisfied.39   Courts are

"permitted to exercise their sound discretion in deciding which of the two prongs of the qualified

immunity analysis should be addressed first in light of the circumstances in the particular case at

hand."4°     However, analyzing them in order is "often                  beneficial."4'


                       1.            Whether Plaintiff's Constitutional Rights Were Violated

        The court looks to: (1) if there is a question of material fact as to whether Plaintiff's

injury resulted from excessive force; and (2) if that excessive force was objectively

unreasonable.42             The court does not consider the officer's subjective          intent.43   Plaintiff argues

that his constitutional right to be free of excessive force was violated when Officers placed

Plaintiff in a chokehold.44 Officers contend Plaintiff attempted to enter the VA without

authorizationjustifying action.45

        Courts analyze excessive force claims under the "objective reasonableness                          standard."46


This standard does not employ hindsight to find the objective best course of action.47 Instead,

the court considers the totality of the circumstances "from the perspective of a reasonable officer


        38
             Id.

             Id.

        401d.      at236.
        " Id.

        42
           Cooper v. Brown, 844 F.3d 517, 522 (5th Cir. 2016); see also Elizondo v. Green, 671 F.3d 506, 501 (5th
Cir. 2012) (quoting Collier v. Montgomery, 569 F.3d 214,218 (5th Cir. 2009)).

        u Graham            v.   Connor, 490 U.S. 386, 397 (1989).

             Resp.7.
        '
             Mot. 6.

        46
             Graham, 490 U.S. at 397.
        '
             Id.
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on the scene."48 In Graham                   v.   Connor,49    the Supreme Court outlined several factors to consider:

(1) the severity      of the crime; (2) whether the suspect posed an immediate threat to the safety of

officers or others; and (3) whether the suspect actively resisted.5°

        A court cannot take the severity of the crime into consideration if the plaintiff did not

commit a      crime.51      Here, Plaintiff was charged with disorderly                     conducta misdemeanor.52
However, the record does not reflect any evidence that Plaintiff was found guilty of disorderly

conduct. Being charged with a crime is not equivalent to committing a crime. As Plaintiff was

not convicted of a crime, this factor weighs against qualified immunity.

        There is also a question of material fact as to whether Plaintiff represented a threat to

officer or public safety. Plaintiff attests that he was attempting to comply with Officers' orders

and remained nonconfrontational throughout the                             interaction.53   According to Officers, Plaintiff

attempted to gain unauthorized access to the VA facility without providing                              identification.54


Officers seemingly argue failing to present identification can be inferred to present an immediate

threat to officer or public              safety.55




             Id. at 396.

       49490 U.S. 386 (1989).

        50
             Id.

         '
             See   Turmon       v.   Jordan, 405 F.3d 202, 207 (5th Cir. 2005).
       52
             Resp., "United States District Court Violation Notice" 1, Ex. D.

             Oliva Aff. 2 ¶ 9.

             Nivar Aff.    1;    Barahona Aff.     1;   Garcia Aff.   1.


             Id.


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          Furthermore, surveillance video of the incident shows Nivar stepping forward towards

Plaintiff while displaying        handcuffs.56    Nivar did not handcuff Plaintiff, but instead pointed

towards the metal detector.57 In Plaintiff's affidavit, he states that he was told to approach the

detector despite Officers not seeing his identification.58 Once Plaintiff reached the metal

detector, an altercation occurred.59 During the altercation, Officers restrained Plaintiff through a

chokehold.6° Accordingly, a question of material fact remains as to whether Plaintiff presented a

threat to officer or public safety.

         Lastly, courts should look to whether the plaintiff resisted arrest.61 Officers do not assert

that Plaintiff actively resisted      arrest.62   Therefore, this factor also does not support qualified

immunity.

         All three of the factors enumerated in Graham show questions of material facts exist.

Accordingly, when viewed in the light most favorable to the non-moving party, a genuine issue

of material fact remains as to whether Plaintiff's constitutional rights were violated.

                     2.       Whether Nivar's Actions Violated Clearly Established Law

         The second prong considers whether the officers' conduct violated clearly established

law.63   "If officers of a reasonable competence could disagree on this issue, immunity should be


              Video Ex. B at 00:53.

         57Jd. at 01:00.

              Oliva Aff. 2 ¶ 7.

              Video Ex. B at 01:07.

         601d at 01:09.

         61
              Graham v. Connor, 490 U.s. 386, 397 (1989).
         62
              See generally Nivar Aff.; see also Barahona Aff.; Garcia Aff

         63
              Pearson v. Callahan, 555 U.S. 223, 232 (2009).
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recognized."64        This analysis is "highly       fact-specific."65   The protection of qualified immunity

can be overcome through cases which are "directly on point."66 If no case is directly on point,

precedent must show "beyond debate" that a constitutional violation                 occurred.67


         In Darden         v.   Cily ofFort   Worth,68   the Fifth Circuit held that use of force is excessive

where the officer "strikes, punches, or violently slams a suspect who is not resisting                arrest."69   In

Darden, an officer choked and pulled the plaintiff's hands behind his back, despite the plaintiff

"purportedly complying with the officers' orders and not resisting               arrest."70   The Fifth Circuit

explained that the law is "clearly established that violently slamming or striking a suspect who is

not actively resisting arrest constitutes excessive use of force."7' While Darden is particularly

illustrative, the Fifth Circuit has regularly held an officer may not use excessive force when the

individual is not resisting arrest or detention.72

        Here, Plaintiff asserts Officers grappled and brought him to the              groundsomething the
video evidence bears            out.73   Plaintiff also claims Nivar restrained him with a chokehold, despite


        64
             Malley v. Briggs, 475 U.s. 335, 341 (1986).

             Mullenix v. Luna, 136 S. Ct. 305, 308 (2015).
        66
          Darden v. City ofFort Worth, 880 F.3d 722, 732 (5th Cir. 2018); see also Ontiveros v. City of
Rosenberg, 564 F.3d 379, 383 n.1 (5th Cir. 2009).

        67
             Darden, 880 F.3d at 732.
        68
             880 F.3d 722 (5th Cir. 2018).

        69
             Idat 732.
         °
             Id. at 733.

        711d.at732.
        72
           Id. at 733; see also Cooper v. Brown, 844 F.3d 517, 524 (5th Cir. 2016) ("Our caselaw makes certain that
once an arrestee stops resisting, the degree of force an officer can employ is reduced"); Newman v. Guedry, 703 F.3d
757, 763 (5th Cir. 2012); Bush v. Strain, 513 F.3d 492, 502 (5th Cir. 2008).

             Video Ex. B 01:09-01:47.
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not resisting the arrest.74 Officers challenge these allegations, asserting Plaintiff's actions gave

rise to the use of force.75 When viewing the evidence in the light most favorable to Plaintiff,

Officers violated clearly established law as determined by the Fifth Circuit when they used

excessive force on an unresisting              suspect.76        Officers notably do not assert that Plaintiff resisted

arrest.77   This is critical as an officer who grapples and chokes a suspect who is not actively

resisting violated clearly established law in Darden.78

        When viewing the submitted evidence in the light most favorable to Plaintiff, a question

of material fact remains as to whether Plaintiff's Fourth Amendment rights were violated. It is

not the courts role to evaluate the evidence or its credibility, only that it is sufficient to allow a

juror to reasonably find in favor of the non-moving party.79 Thus, the protection of qualified

immunity is defeated.

IV.     CONCLUSION

        Defendants Nivar, Barahona, and Garcia are not entitled to qualified immunity on

Plaintiff's FTCA claims, as no FTCA claims are filed against them. Additionally, Plaintiff has

provided sufficient evidence to defeat summary judgment as to his Bivens claim.




            Oliva Aff. 2 ¶ 8-9.

            Nivar Aff.   1;   Barahona Aff.   1;   Garcia Aff.   1.

       76
            Darden v. City of Fort Worth, 880 F.3d 722, 732 (5th Cir. 2018).

            See generally Nivar Aff.; Barahona Aff.; Garcia Aff.
       78
            Darden, 880 F.3d at 732.

            Caboni v. General Motors Corp., 278 F.3d 448, 451(5th Cir. 2002).

                                                                      10
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      Accordingly, it is HEREBY ORDERED that "Defendants Mario J. Nivar, Hector

Barahon [sic], Mario Garcia's Motion for Summary Judgment" [ECF No. 80] is DENIED.

      SO ORDERED.

      SIGNED this          day of August, 2019.




                                        FRANK MONTALVO
                                        UNITED STATES DISTRICT JUDGE




                                           11
